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2
                                                       May 24, 2018
3
                                                           VPC
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6                        UNITED STATES DISTRICT COURT
7                      CENTRAL DISTRICT OF CALIFORNIA
8

9  STEPHANIE CLIFFORD a.k.a.                CASE NO.: 2:18-cv-02217-SJO-FFM
   STORMY DANIELS a.k.a. PEGGY
10 PETERSON, an individual,
                                            ORDER GRANTING STIPULATION
11                   Plaintiff,             OF ALL PARTIES RE: BRIEFING
12                                          SCHEDULE AND HEARING ON
         vs.
                                            PLAINTIFF’S MOTION FOR
13                                          RECONSIDERATION IN PART OF
   DONALD J. TRUMP a.k.a. DAVID             COURT’S ORDER IMPOSING 90
14 DENNISON, and individual,
   ESSENTIAL CONSULTANTS, LLC, a            DAY STAY
15 Delaware Limited Liability Company,
   MICHAEL COHEN and DOES 1
16 through 10, inclusive,

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                     Defendants.
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                                         ORDER
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1          Upon consideration of the Stipulation of All Parties Re: Briefing Schedule and
2    Hearing on Plaintiff’s Motion For Reconsideration In Part of Court’s Order Imposing 90
3    Day Stay, the Court’s records and files of the case, and for good cause shown, the Court
4    hereby orders as follows:
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        1. The Stipulation is GRANTED;
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        2. Plaintiff Stephanie Clifford (“Plaintiff”) shall have until 4:00 p.m. on Thursday,
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           May 24, 2018 to file her Motion for Reconsideration In Part of the Court’s Order
8
           Imposing a 90 Day Stay of this Action (the “Motion”);
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        3. Defendants Essential Consultants, LLC (“EC”), Michael Cohen (“Mr. Cohen”) and
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           Donald J. Trump (collectively, “Defendants”) shall have until 4:00 p.m. on Friday,
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           June 1, 2018, to file their opposition to the Motion.
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        4. Plaintiff shall have until 4:00 p.m. on Thursday, June 7, 2018 to file her reply in
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           support of the Motion.
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        5. The hearing on the Motion shall be set for Thursday, June 21, 2018, at 1:30 p.m.
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           The parties are advised that due to potential conflicts with the Court’s calendar the
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           hearing may be advanced to an earlier day that same week.
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     IT IS SO ORDERED
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20   Dated: May 24, 2018
                                                   HON. S. JAMES OTERO
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                                                   United States District Judge
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                                                ORDER
